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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )             Case No. CR04-0005-JCC-JPD
09               Plaintiff,               )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   JARED WESLEY CRAPO,                  )             ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12               Defendant.               )
     ____________________________________ )
13

14          An initial appearance and hearing on a petition for violation of supervised release was

15 held before the undersigned Magistrate Judge on April 11, 2006. The United States was

16 represented by Assistant United States Attorney Karen Johnson, and the defendant by Mr. Jeff

17 Smith. The proceedings were recorded on cassette tape.

18          The defendant had been charged and convicted of Burglary, Second Degree in violation

19 of 18 U.S.C. §§ 1153 and 13. On or about October 22, 2004, defendant was sentenced by the

20 Honorable John C. Coughenour to twenty-seven (27) months imprisonment to be followed by

21 three (3) years of supervised release.

22          The conditions of supervised release included the requirements that the defendant comply

23 with all local, state, and federal laws, and with the standard conditions. Special conditions

24 imposed, but not limited to, were substance-abuse and mental-health treatment participation,

25 consenting to search, and disclosure.

26          In a Petition for Warrant or Summons and a Violation Report and Warrant Request, both

     REPORT AND RECOMMENDATION OF
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01 dated March 31, 2006, U.S. Probation Officer Margaret Kellow asserted the following violations

02 by defendant of the conditions of his supervised release:

03          (1)     Failing to reside in and satisfactorily participate in a community corrections center

04 and/or comprehensive sanction center program, on or about March 20, 2006, in violation of the

05 special condition that he reside in the CCC until discharged by the director, with the approval

06 of the probation officer.

07          (2)     Failing to notify the probation officer of any change in employment, in violation

08 of standard condition number 6.

09          The defendant was advised of the allegations and his rights. He has admitted to the

10 allegations and waived any rights to an evidentiary hearing as to whether they occurred.

11          I therefore recommend that the Court find the defendant to have violated the terms and

12 conditions of his supervised release as to violations 1 and 2, and that the Court conduct a

13 hearing limited to disposition. A disposition hearing on these violations has been set before the

14 Honorable John C. Coughenour on April 28, 2006, at 9:00 a.m.

15          Pending a final determination by the Court, the defendant has been detained, but has

16 requested a detention review hearing, which has been set before the Honorable Mary Alice

17 Theiler, United States Magistrate Judge, on April 20, 2006, at 3:45 p.m.



                                                            A
18          DATED this 11th day of April, 2006.

19
                                                            JAMES P. DONOHUE
20                                                          United States Magistrate Judge
21
     cc:    District Judge:                 Honorable John C. Coughenour
22          AUSA:                           Ms. Karen Johnson
            Defendant’s attorney:           Mr. Jeff Smith
23          Probation officer:              Ms. Margaret Kellow
24

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26

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     VIOLATIONS OF SUPERVISED RELEASE
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